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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF GEORGIA
                              STATESBORO DIVISION



 UNITED STATES OF AMERICA


                      V.                                 CR:622-003


 MICHAEL H.BOATWRIGHT


                                PLEA AGREEMENT

       Defendant Michael H. Boatwright, represented by Defendant's counsel

Matthew K. Hube, and the United States of America, represented by Assistant

United States Attorney Jonathan A. Porter, have reached a plea agreement in this

case. The terms and conditions of that agreement are as follows.

1.     Guilty Plea


       Defendant agrees to enter a plea of guilty to Count One of the Indictment,

which charges a violation of 18 U.S.C. § 1349.

2.     Elements and Factual Basis


       The elements necessary to prove the offense charged in Count One are that(1)

two or more persons, in some way or manner, agreed to try to accomplish a common

and unlawful plan to commit mail, wire, and bank fraud, as charged in the

indictment; and (2) the Defendant knew the unlawful purpose of the plan and

willfully joined in it.

       Defendant agrees that the Defendant is, in fact, guilty of this offense. The

Defendant agrees to the accuracy of the following facts, which satisfy each of the

offense's required elements:
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  Beginning in or around November 2020, the exact date being unknown, and

  continuing thereafter until in or about June 2021, within the Southern District

  of Georgia and elsewhere, Michael H.Boatwright, with Stephanie Michelle Lea

  Napier and other co-conspirators, known and unknown, did conspire,

  confederate, and agree with each other to commit mail, wire, and bank fraud.

  It was part of the conspiracy, and the manner and means thereof, that

  Boatwright and Napier would steal mail from individuals' mailboxes,including

  individuals within the Statesboro Division of the Southern District of Georgia,

  in an effort to obtain individuals' personal identifiable information.

  With that personal identifiable information, Boatwright and Napier woxild

  then gain access to those individuals'financial accounts, and would then cause

  and attempt to cause wire transfers from those accounts, and to draw checks

  from those accounts, in order to wrongfully gain funds in the custody and

  control of financial institutions.

  Specifically, it was part of the conspiracy that, on or about April 15, 2021, in

  Statesboro, Georgia, Boatwright and Napier obtained personal identification

  information of an individual whose initials are R.S. of Statesboro, Georgia,

  accomplished by Boatwright stealing mail located in R.S.'s mailbox.

  Boatwright and Napier then proceeded to use R.S.'s personal information to

  cause and attempt to cause wire transfers from accounts belonging to R.S. into

  accounts belonging to, or under the control of, Boatwright and Napier, and that

  were held in accounts of a federally insured financial institution.
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• It was further a part of the conspiracy that Boatwright and Napier would

   create fake checks in R.S/s name.


• Boatwright and Napier then caused R.S.'s mail to be forwarded to an address

   in Jacksonville, Florida under Boatwright and Napier's control.

• As a part of the conspiracy, Boatwright and Napier obtained information

   belonging to Company 1, located in Statesboro, Georgia, and made and

   attempted to make fraudulent transactions relating to Company 1.

• Boatwright and Napier also obtained and used the identities of other victims,

   in the Statesboro Division of the Southern District of Georgia and elsewhere,

   to apply for and obtain bank accounts, debit cards, credit cards, and other t5rpes

   of credit in the names of persons whose identity information Boatwright and

   Napier obtained. Boatwright's victims did not consent to the use of their

   identities.

• Among countless other victims, Boatwright and Napier gained access to

   financial accounts owned by two individuals whose initials are R.M. and R.M.,

   and, on or around June 1, 2021, transferred over $271,000 from R.M. and

   R.M.'s accounts to locations under the custody and control of Boatwright.

• Among the fraudulent wires conducted by Boatwright and Napier in the

   Southern District of Georgia was a transaction on or about April 15, 2021 in

   which Boatwright and Napier attempted to transfer $278,809.88 in funds

   belonging to R.S.into an account with Financial Institution 1 under the control

   of Boatwright and Napier.
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      All in violation of Title 18, United States Code, Section 1349.

3.     Possible Sentence


       Defendant's guilty plea will subject the Defendant to the following maximum

possible sentence: 30 years'imprisonment, 5 years' supervised release, a $1,000,000

fine, such restitution as may be ordered by the Court, and forfeiture of all forfeitable

assets. The Court additionally must impose a $100 special assessment per count of

conviction.


4.     No Promised Sentence


       No one has promised Defendant that the Court will impose any particular

sentence or a sentence within any particular range. The Court is not bound by any

estimate of sentence given or recommendations made by Defendant's counsel, the

government, the U.S. Probation Office, or anyone else. The Court may impose a

sentence up to the statutory maximum. Defendant will not be allowed to withdraw

Defendant's plea of guilty if the Defendant receives a more severe sentence than the

Defendant expects.

5.     Court's Use of Sentencing Guidelines

       The Court is obligated to use the United States Sentencing Guidelines to

calculate the applicable guideline range for Defendant's offense. The Sentencing

Guidelines are advisory; the Court is not required to impose a sentence within the

range those Guidelines suggest. The Court will consider that range, possible

departures under the Sentencing Guidelines, and other sentencing factors under 18

U.S.C. § 3553(a), in determining the Defendant's sentence.              The Sentencing
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Guidelines are based on^of Defendant's relevant conduct, pursuant to U.S.S.G. §

lBl.3, not just the conduct underlying the particular Count or Counts to which

Defendant is pleading guilty.

6.     Agreements Regarding Sentencing Guidelines

       a.     Use of Information


       Nothing in this agreement precludes the government from providing full and

accurate information to the Court and U.S. Probation Office for use in calculating the

applicable Sentencing Guidelines range. Any incriminating information provided by

the Defendant during the Defendant's cooperation will not be used in determining

the applicable Guidelines range, pursuant to Section IB1.8 of the Sentencing

Guidelines.

       b.     Acceptance of Responsibilitv


       If the Court determines that Defendant qualifies for an adjustment under

U.S.S.G. § 3El.l(a), and the offense level prior to operation of § 3El.l(a) is 16 or

greater, the government will move for an additional one-level reduction in offense

level pursuant to Section 3E1.1(b) based on Defendant's timely notification of the

Defendant's intention to enter a guilty plea.

       c.     Amount of Loss


       The government and Defendant agree to recommend to the U.S. Probation

Ofiice and the Court at sentencing that the amount of loss, for purposes of Section

2B1.1 of the Sentencing Guidelines, is more than $1,500,000 but not more than

$3,500,000.
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       d.    Victims Enhancement


       The government and Defendant agree to recommend to the U.S. Probation

Office and the Court at sentencing that the offense involved ten or more victims.

       e.    Relocation of Scheme Enhancement


       The government and Defendant agree to recommend to the U.S. Probation

Office and the Court at sentencing that Defendant relocated, or participated in

relocating, his fraudulent scheme to another jurisdiction to evade law enforcement.

       f.    Means of Identification Enhancement

       The government and Defendant agree to recommend to the U.S. Probation

Office and the Court at sentencing that the offense involved the possession of five or

more means of identification that unlawfully were produced from, or obtained by the

use of, another means of identification.

       g.    No Other Enhancements

       The government and Defendant agree to recommend to the U.S. Probation

Office and the Court at sentencing that no other enhancements apply.

7.     Dismissal of Other Counts


       At sentencing, the government will move to dismiss any other Counts of the

Indictment that remain pending against Defendant.

8.     Cooperation

       a.    Complete and Truthful Cooperation Reouired

       Defendant must provide full, complete, candid, and truthful cooperation in the

investigation and prosecution of the ojffenses charged in Defendant's Indictment and




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any related offenses. Defendant shall fully and truthfully disclose Defendant's

knowledge of those offenses and shall fully and truthfully answer any question put to

him by law enforcement officers about those offenses.

       This agreement does not require Defendant to "make a case" against any

particular person. Defendant's benefits under this agreement are conditioned only

on Defendant's cooperation and truthfulness, not on the outcome of any trial, grand

jury, or other proceeding.

       b.     Motion for Reduction in Sentence Based on Cooperation

       The government, in its sole discretion, will decide whether Defendant's

cooperation qualifies as "substantial assistance" pursuant to U.S.S.G. § 5K1.1 or Fed.

R. Grim. P. 35 and thereby warrants the fihng of a motion for downward departure

or reduction in Defendant's sentence. If such a motion is filed, the Court, in its sole

discretion, will decide whether, and to what extent. Defendant's sentence should be

reduced. The Court is not required to accept any recommendation by the government

that the Defendant's sentence be reduced.

9.     Forfeiture


       a.    Defendant agrees to forfeit Defendant's interest in any property

constituting, or derived from, any proceeds obtained, directly or indirectly, as a result

of the offense to which Defendant has agreed to plead guilty, and any property used,

or intended to be used,in any manner or part, to commit, or facilitate the commission

of that offense (collectively, the "Subject Property").




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        b.    Defendant waives and abandons all right, title, and interest in the

Subject Property. Defendant agrees to take all steps requested by the government to

facilitate transfer of title of the Subject Property to the government. Defendant

further agrees not to file any claim, answer, or petition for remission or mitigation in

any administrative or judicial proceeding pertaining to the Subject Property. If any

such document has already been filed. Defendant hereby withdraws that filing.

        c.    Defendant agrees to hold the government and its agents and employees

harmless from any claims made in connection with the seizure,forfeiture, or disposal

of property connected to this case.        Defendant further agrees to waive the

requirements of the Federal Rules of Criminal Procedure 32.2 and 43(a) regarding

notice of the forfeiture in the charging instrument, announcement of the forfeiture at

sentencing, and incorporation of the forfeiture in the judgment.

        d.    Defendant waives and abandons Defendant's interest in any other

property that may have been seized in connection with this case. Additionally,

Defendant waives any and all challenges on any grounds to the seizure, forfeiture,

and disposal of any property seized in connection with this case.           Defendant

specifically agrees to waive any challenges arising under the Double Jeopardy Clause

of the Fifth Amendment and the Excessive Fines Clause of the Eighth Amendment.

10.     Financial Obligations and Agreements

        a.    Restitution


        The amount ofrestitution ordered by the Court shall include restitution for the

full loss caused by Defendant's total criminal conduct. Restitution is not limited to


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the specific counts to which Defendant is pleading guilty. Any restitution judgment

is intended to and will survive Defendant, notwithstanding the abatement of any

underlying criminal conviction.

      b.     Special Assessment


      Defendant agrees to pay a special assessment in the amount of $100, payable

to the Clerk of the United States District Court, which shall be due immediately at

the time of sentencing.

      c.     Reouired Financial Disclosures


      By the date that Defendant enters a guilty plea. Defendant shall complete a

financial disclosure form listing all Defendant's assets and financial interests,

whether held directly or indirectly, solely or jointly, in Defendant's name or in the

name of another. Defendant shall sign the financial disclosure form under penalty of

perjury and provide that form to the Financial Litigation Unit of the United States

Attorney's Office and to the United States Probation Office. Defendant authorizes

the United States to obtain credit reports on Defendant and to share the contents of

those reports with the Court and the United States Probation Office. Defendant also

authorizes the United States Attorney's Office to inspect and copy all financial

documents and information held by the United States Probation Office.

      d.    Financial Examination

      Defendant will submit to an examination under oath on the issue of

Defendant's financial disclosures and assets if deemed necessary by the United
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States. Such examination will occur not later than 30 days after the entry of

Defendant's guilty plea.

       e.    No Transfer of Assets


      Defendant certifies that Defendant has made no transfer of assets in

contemplations of this prosecution for the purpose of evading or defeating financial

obligations created by this Agreement or that may be imposed upon Defendant by the

Court at sentencing. Defendant promises that Defendant will make no such transfers

in the future.


      f.     Material Change in Circumstances

      Defendant agrees to notify the United States of any material change in

circumstances, as described in 18 U.S.C. § 3664(k), that occurs prior to sentencing in

this case. Such notification will be made within seven days of the event giving rise

to the changed circumstances, and in no event later than the date of sentencing.

      g.     Enforcement

      Any payment schedule imposed by the Court is without prejudice to the United

States to take all actions and remedies available to it to collect the full amount of the

financial obligations imposed by the judgment of the Court in this case. Defendant

understands and agrees that the financial obligations imposed by the judgment ofthe

Court in this case will be placed on the Treasury Offset Program so that any federal

payment that Defendant receives may be offset and applied to the judgment debt

without regard to or affecting any payment schedule imposed by the Court.

11.   Waivers



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       a.     Waiver of Appeal

      Defendant entirely waives Defendant's right to a direct appeal of Defendant's

conviction and sentence on any ground (including any argument that the statute to

which the Defendant is pleading guilty is unconstitutional or that the admitted

conduct does not fall within the scope of the statute). The only exceptions are that

the Defendant may file a direct appeal of Defendant's sentence if(1)the court enters

a sentence above the statutory maximum,(2) the court enters a sentence above the

advisory Sentencing Guidelines range found to apply by the court at sentencing; or

(3) the Government appeals the sentence. Absent those exceptions, Defendant

explicitly and irrevocably instructs Defendant's attorney not to file an appeal.

      b.      Waiver of Collateral Attack


      Defendant entirely waives Defendant's right to collaterally attack Defendant's

conviction and sentence on any ground and by any method, including but not limited

to a 28 U.S.C. § 2255 motion. The only exception is that Defendant may collaterally

attack Defendant's conviction and sentence based on a claim of ineffective assistance

of counsel.


      c.      FOIA and Privacv Act Waiver

      Defendant waives all rights, whether asserted directly or through a

representative, to request or receive from any department or agency of the United

States any record pertaining to the investigation or prosecution of this case under the

authority of the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of

1974, 5 U.S.C. § 552a, and all subsequent amendments thereto.


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      d.     Fed. R. Grim. P. 11(f) and Fed. R. Evid. 410 Waiver


      Rule 11(f) of the Federal Rules of Criminal Procedure and Rule 410 of the

Federal Rules of Evidence ordinarily limit the admissibility of statements made by a

Defendant during the course of plea discussions or plea proceedings. Defendant

knowingly and voluntarily waives the protections of these rules. If Defendant fails

to plead guilty, or Defendant's plea of guilty is later withdrawn, all of Defendant's

statements in connection with this plea, and any leads derived therefrom, shall be

admissible for any and all purposes.

12.   Defendant's Rights


      Defendant has the right to be represented by counsel, and if necessary have

the court appoint counsel, at trial and at every other critical stage of the proceeding.

Defendant possesses a number of rights which Defendant will waive by pleading

guilty,including: the right to plead not guilty, or having already so pleaded,to persist

in that plea; the right to a jury trial; and the right at trial to confront and cross-

examine adverse witnesses, to be protected from compelled self-incrimination, to

testify and present evidence, and to compel the attendance of witnesses.

13.   Satisfaction with Counsel

      Defendant has had the benefit of legal counsel in negotiating this agreement.

Defendant believes that Defendant's attorney has represented Defendant faithfully,

skillfully, and diligently, and Defendant is completely satisfied with the legal advice

given and the work performed by Defendant's attorney.

14.   Breach of Plea Agreement



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      If Defendant fails to plead guilty, withdraws or attempts to withdraw

Defendant's guilty plea,commits any new criminal conduct following the execution of
this agreement, or otherwise breaches this agreement, the government is released
from all of its agreements regarding Defendant's sentence, including any agreements
regarding the calculation of Defendant's advisory Sentencing Guidelines. In addition,
the government may declare the plea agreement null and void, reinstate any counts
that may have been dismissed pursuant to the plea agreement, and/or file new
charges against Defendant that might otherwise be barred by this plea agreement.
Defendant waives any statute-of-limitations or speedy trial defense to prosecutions
reinstated or commenced under this paragraph.

15.   Entire Agreement


      This agreement contains the entire agreement between the government and
Defendant.


                                      DAVID H. ESTES
                                      UNITED STATES ATTORNEY




                                      Patricia G. Rhodes
                                      Chief, Criminal Division




                                      ^Qiiath^n A. Porter
                                      Georgia Bar No. 725^
                                      Assistant United States Attorney




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       I have read and carefully reviewed this agreement with my attorney. I

understand each provision of this agreement, and I voluntarily agree to it. I hereby

stipulate that the factual basis set out therein is true and accurate in every respect.




ujnm.
                                                    ^oatwrighfTDefendant


       I have fully explained to Defendant all of Defendant's rights, and I have

carefully reviewed each and every part of this agreement with Defendant. I believe

that Defendant fully and completely understands it, and that Defendant's decision to

enter into this agreement is an informed, intelligent, and voluntary one.




Date                                    Matthew Kr^Tube, DefendarT            ney




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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                              STATESBORO DIVISION



 UNITED STATES OF AMERICA


                    V.                                     CR:622-003


 MICHAEL H.BOATWRIGHT



                                      ORDER


      The aforesaid Plea Agreement, having been considered by the Court in

conjunction with the interrogation by the Court of the Defendant and the

Defendant's attorney at a hearing on the Defendant's motion to change Defendant's

plea and the Court finding that the plea of guilty is made freely, voluntarily and

knowingly, it is thereupon,

      ORDERED that the plea of guilty by Defendant be, and it is, hereby accepted

and the foregoing Plea Agreement be, and it is, hereby ratified and confirmed.



             This        day of.                       2022.




                                              lABLE J. RANDAL HALL
                                   JUDGEyUNITED STATES DISTRICT COURT
                                        [ERN DISTRICT OF GEORGIA
